                       Case 3:19-mj-08055-MAT Document 1 Filed 08/26/19 Page 1 of 2
AO 442 (REV. 12/85)




                            UNITED STATES DISTRICT COURT
                                                                                                     FILED
                                                                                                   08/26/2019
                             WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                    Clerk, U.S. District Court
                                                                                            Western District of Texas


                                                                                    By:             RRV
                                                                                                     Deputy




USA                                                         §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: EP:19-M -08055(1) - MAT
                                                            §
(1) JUNIOR IVAN GAMEZ-MURILLOS                              §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about 08/18/2019 in El Paso county, in the WESTERN DISTRICT OF

TEXAS defendant did, being an alien to the United States, knowingly enter and attempt to enter the United

States at a time and place other than as designated by immigration officers

in violation of Title 8 United States Code, Section(s) 1325(a)(1).

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The Defendant, Junior Ivan GAMEZ-Murillos, an alien to the United States and a citizen of

Honduras, entered the United States from the Republic of Mexico by crossing the Rio Grande River on August

18, 2019 , approximately .96 miles west of the Paso Del Norte Port-of-Entry at              El Paso, Texas , in the

Western District of Texas. The place where the Defendant entered is not designated as a Port of Entry by

immigration officers."

Continued on the attached sheet and made a part of hereof:                                          X Yes                No




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Rodriguez, Luis Enrique
                                                                           Border Patrol Agent

08/26/2019                                                            at   EL PASO, Texas
File Date                                                                  City and State




MIGUEL A. TORRES                                                           ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
CONTINUATION OFCase 3:19-mj-08055-MAT
                CRIMINAL COMPLAINT             Document 1 Filed 08/26/19 Page 2 of 2

WESTERN DISTRICT OF TEXAS

(1) JUNIOR IVAN GAMEZ-MURILLOS

FACTS   (CONTINUED)

The Defendant, Junior Ivan GAMEZ-Murillos, an alien to the United States and a citizen of Honduras, entered
the United States from the Republic of Mexico by crossing the Rio Grande River on August 18, 2019 ,
approximately .96 miles west of the Paso Del Norte Port-of-Entry at El Paso, Texas , in the Western District
of Texas. The place where the Defendant entered is not designated as a Port of Entry by immigration
officers.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE
